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Pro Se l (Rev. 12/16) Complaint for a Civil Case
                                                                                                          .0.
                                                   ;                                                       MIDDLE GEORGIA
                                        UNITED STATES DISTRICT COURT                .
                                                    for the       2019 JMl 18 PH I: 08
                                                                    District of

                                                                        Division


                                                                              Case No.
                                                                                             (to be filled in by the Clerk's Office)
                         Elizabeth Palmer
                              Plaintijf(s)
(Write the full name ofeach plaintiffwlw is filing this complaint
If the names ofall the plaintiffe cannot fit in the space above,              Jury Trial: (check one)     0     Yes lg) No
please write "see attached" in the space and attach an additional
page with the ji,ll list ofnames.)
                                  -v-




                         April Harris-Britt
                             Defendant(s)
(Write the fall name ofeach defendant who is being sued. If the
names ofall the defendants cannotfit in the space above, please
write "see attached" in the space and attach an additional page
with the fall list ofnames.)



                                                   COMPLAINT FOR A CIVIL CASE

I.         The Parties to This Complaint
           A.         The Plaintiff(s)

                      Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                      needed.
                                 Name                               Elizabeth Palmer ; Alison P Kennihan
                                 Street Address                     POBox8071
                                 City and County                    Athens; Clarke
                                 State and Zip Code                 GA30603
                                 Telephone Number
                                 E-mail Address                     poetl l9@protonmail.com


           B.         The Defendant(s)

                      Provide the information below for each defendant named in the complaint, whether the defendant is an
                      individual, a government agency, an organization, or a corporation. For an individual defendant,
                      include the person's job or title (ifknown). Attach additional pages if needed.
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                     Defendant No. 1
                                Name                         April Harris-Britt, in her individual capacity
                                Job or Title (if /mown)      Psychologist
                                Street Address               AHB Center; 3326 Durham-Chapel Hill Blvd., Building D
                                City and County              Durham; Durham County
                                 State and Zip Code          NC27707
                                Telephone Number             919-401-8090
                                 E-mail Address (if known)


                      Defendant No. 2
                                Name
                                 Job or Title (if /mown)
                                 Street Address
                                 City and County
                                 State and Zip Code
                                 Telephone Number
                                 E-mail Address (if/mown)


                      Defendant No. 3
                                Name
                                 Job or Title (if/mown)
                                 Street Address
                                 City and County
                                 State and Zip Code
                                 Telephone Number
                                 E-mail Address (if /mown)


                      Defendant No. 4
                                Name
                                 Job or Title (if /mown)
                                 Street Address
                                City and County
                                 State and Zip Code
                                Telephone Number
                                 E-mail Address (if/mown)
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                                (If more than one plaintiffis named in the complaint, attach an additional page providing the
                                same information for each additional plaintiff)

                      2.        The Defendant(s)

                                 a.        Ifthe defendant is an individual
                                           The defendant, (name)       April Harris-Britt                      , is a citizen of
                                                                      ----------------
                                           the State of (name)      North Carolina                           Or is a citizen of
                                            (foreign nation)



                                 b.         If the defendant is a corporation
                                            The defendant, (name)                                          , is incorporated under
                                                                      --------------
                                            the laws of the State of (name)                                           ' and has its
                                            principal place of business in the State of (name)
                                            Or is incorporated under the laws of (foreign nation)
                                            and has its principal place of business in (name)

                                 (If more than one defendant is named in the complaint, attach an additional page providing the
                                 same information for each additional defendant.)

                      3.         The Amount in Controversy

                                 The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
                                 stake-is more than $75,000, not counting interest and costs of court, because (explain):
                                  Defendant kidnapped Plaintiffs children and kept them from her for several years. Defendant
                                  also defrauded Plaintiff through recommended fees for unnecessary health services and made
                                  defamatory statements about about Plaintiff to various community professionals. These false
                                  statements eventually cost Plaintiff her career, her home, her belongings and standing in the
                                  community. Plaintiffs salary decreased substantially. Plaintiff was forced to move out of state,
                                  giving up all possessions. Defendant's statements also caused the loss of relationships between
                                  Plaintiff and oldest daughter with Plaintiffs two younger children, causing unquantifiable
                                  psychological ham1 to the entire family. Plaintiff lost monthly child support payments due to
                                  Defendant's false statements. Defendant caused severe emotion stress that also negatively
                                  impacted the oldest daughter's college careeer.
                                  Loss of family relationships, impact to ddaughter's college career cannot be given a dollar
                                  amount. Loss of Plaintiffs career is approximately $75,000 per year for four years. Loss of
                                  child support for 75 months - $138,600. Loss of home - $450,000. Loss of belongings,
                                  including two vehicles - approximately $50,000. Loss of college savings -$108,000. Loss of
                                  friendships and family relationships - cannot be quantified. Total loss: $1,046,000.

III.       Statement of Claim

          Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
          facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
          involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
          the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
          write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.
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Defendant has no quasi-judicial immunity. Defendant acted in violation of Constitutional rights, violated clearly
established law and the committed acts listed below maliciously, intentionally and with knowledge.

1) Defamation 28 US Code 4101
January, 2018, in NC and GA: lied to NC Attorney General in answer to Plaintiffs consumer complaint.
Provided court documents in a way that was intentionally misleading. Made statements about Plaintiff's mental
state that have no validity and are based only on Defendant's own statement, which can be shown to be
intentionally malicious.
EXHIBIT A: Consumer complaint reply

May 2018, from appeal of a March 22, 2017 matter: Dr. April Harris-Britt repeatedly defamed Ms. Palmer,
using her own label as basis, which had no validity and can be shown to have been influenced.
EXHIBIT B: Transcript of March 22, 2017 hearing, which went to NC COA Feb. 2018

January 2017 - reports, emails, to other professionals whom she defamed Ms. Palmer to in verbal and written
communications, refused to retract statements when requested.
EXHIBIT C: PC communications - Defamation

October 25, 2017: Committed perjury in a courtroom (re: invoice); caused Plaintiff to be sent to jail based on
this perjury.
EXHIBIT B: Transcript of March 22, 2017, which went to NC COA Feb 2018.
EXHIBIT H: Harris-Britt's invoice

Sept. 21, 2016: Lied throughout a report about items she knew to be true. This malicious defamation caused
Plaintiffs to lose their children/siblings. Violation oflife, liberty, property without due process. (5th
Amendment)
EXHIBIT E: PC Report - Defamation
EXHIBIT B: Transcript of March 22, 2017 hearing

2) Kidnapping 18 US Code 1201, 2101 c and 1201 e
Kidnapping 18 US Code 1203
Sept. 21, 2016 -present; Pittsboro, NC and Athens, GA: Defendant Harris-Britt maliciously and unequivocally
blocked Plaintiffs from contact with the two children (Plaintiff Palmer has three children; Dr. Harris-Britt
recommended removal of the younger two from the mother and oldest daughter. All were under age 18 at the
time). Harris-Britt is required by law to provide visitations. Per the district court, Palmer still has temporary
custody. It is Harris-Britt's job to request consent from Palmer when her son and daughter left their home state of
North Carolina to travel in summer 2017 and 2018, Christmas 2017, and New Year's 2019. Children went out of
the U.S. without Plaintiff's consent or knowledge.
EXHIBIT E: PC Report - Kidnapping


Defendant intentionally provided false testimony to a District Court. When dialogue was only between Plaintiff
and Defendant, Defendant arbitrarily and repeatedly blocked Plaintiff Palmer from seeing or talking with her
children, and blocked PlaintiffKennihan from seeing or talking with her siblings. Each ti~":' !\1::. P~~".-:-.c"~vcdd
comply with Dcfo;_;.lant's ntles, Defendant who was acting as Parenting Coordinator, would change the rules.
She consistently blocked Plaintiffs from contact with the two children with no valid reaslt can be shown that
I\:f:-,_:,:~--:~ -!id this due to outside, criminal influence.
EXHIBIT C: PC Communications

3) Fraud and False Statements 18 US Code 47, 1001
ongoing. Sept. 21, 2016 through present; Pittsboro, NC, Raleigh, NC and Athens, GA via email: lied in original
report to the court.
EXHIBIT C: PC Communications
EXHIBIT E: PC Report
EXHIBIT H: Harris-Britt's invoice
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Jan 2018, Durham, NC, Raleigh, NC and Athens, GA via email: lied to Office of the NC Attorney General,
Oct 25, 2017 in court about invoice that can be shown to be false, for which Plaintiff Palmer went to jail.
EXHIBIT C: PC Communications
EXHIBIT H: Harris-Britt's invoice - Fraud and False statements


4) Conspiracy to Defraud the Government with Respect to Claims, 18 US Code 286
May 2016-present, Pittsboro, NC; Raleigh, NC and Athens, GA via email: Colluded and participated in a
conspiracy that brought a frivolous claim to the district court, with the intent of obstructing justice in another
court district. In that other court district, financial crimes had been admitted to but had not been heard.
January 2018 - lied to the NC Attorney General's Office regarding her role in the child custody case and she
submitted court orders that did not align with her statements.
EXHIBITB: Transcript of March 22, 2017, that went to NC COA Feb 2018
EXHIBIT E: PC Report - Conspiracy to Defraud Govt
EXHIBIT H: Harris-Britt's invoice - Conspiracy to Defraud Govt.
EXHIBIT A: Consumer complaint reply


5) False Statement Relating to Healthcare Matters 18 US Code 1035
Sept. 21, 2016 -Jan 2018; Pittsboro, NC and Athens GA via email: Defendant Harris-Britt repeatedly mentioned
in emails, verbal communications, court testimony, phone calls, conversations with other professionals, that
Plaintiff Palmer was mentally unfit to parent, and that Plaintiff Kennihan could be psychologically harmful to
her siblings. In reality, Harris-Britt had maliciously concocted these labels.
EXHIBIT C: PC Communications

6) Frauds and Swindles 18 USC 1341
January 2018: Defendant mailed her fraudulent answers to the NC Attorney General's office, and corresponded
via email to Plaintiff regarding these answers.
EXHIBIT A: Consumer complaint reply

7) Statements or Entries 18 USC 1001
Sept. 2016; March 22, 2017; Oct. 25, 2017, Pittsboro, NC: While serving as court-appointed Parenting
Coordinator, Defendant Harris-Britt submitted an intentionally fraudulent report Sept. 21, 2016; she reiterated
her false statements again on March 22, 2017; she presented false invoices to the court Oct. 25, 2017, for which
Plaintiff Palmer was taken into custody; she furthered the defamation of Plaintiff originally stated perjuriously in
Sept. 2016 throughout documents and emails in 2017 and 2018, some of which were presented to the NC Court
of Appeals in 2018, and others which Defendant herself presented to the Office of the NC Attorney General.
Defendant made these false statements intentionally and maliciously, knowingly manufactured a false report
which she submitted to a district court, violated Constitutional rights as well as clearly established laws;
qualified immunity is lost.
EXHIBIT A: Consumer complaint reply
EXHIBIT E: PC Report

8) Influencing or Injuring Officer or Juror 18 US Code 1503 (obstruction)
Bribery of Public Officials and Witnesses 18 US Code 201
Two arrests occurred that appear to have influenced Harris-Britt's statements regarding child custody. One arrest
occurred May 5, 2016, and another Sept. 22, 2016. The Sept. 22, 2016 arrest occurred at Harris-Britt's home, at
precisely the same time Plaintiffs children/siblings were ordered out of Plaintiffs care. The court order was
based only on Harris-Britt's single, fabricated report.
EXHIBIT G: May 5, 2016 Arrest Report
EXHIBIT I: September 22, 2016 Arrest Report

9) False, Fictitious or Fraudulent Claims 18 US Code 287
Sept. 21, 2016: PC Report was fabricated. Harris-Britt lied throughout her report about Ms. Palmer. Lies
included but are not limited to: Ms. Palmer's statements about, the date of her report, the date of her court
appointment date, the events in report.
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          EXHIBIT E: PC Report
          EXHIBIT J: May 2016 Court Order

          Oct. 25, 2017: Harris-Britt lied about her invoice to the court, stating Ms. Palmer owed the amount in full. Ms.
          Palmer was taken into custody because of Harris-Britt's perjury.
          EXHIBIT H: Harris-Britt's Invoice

          10) Wrongful Disclosure of Individually Identifiable Health Information 42 USC 1320d-6
          Sept. 2016 - Jan. 2018: Dr. Harris-Britt repeatedly made intentional false statements and communicated her false
          statements to various individuals, using non-secure methods of communication. about Plaintiff Palmer's mental
          health.
          EXHIBIT E: PC Report
          EXHIBIT C: PC communications

           Obstruction of Criminal Investigations 18 US Code 1510
           Obstructed justice in another NC County, regarding felonies and financial crimes.
           EXHIBIT E: PC Report
           EXHIBIT C: PC Communications

           Theft or Alteration of Record or Process 18 US Code 1506
           EXHIBIT E: PC Report
           EXHIBIT C: PC Communications

           Violation of 5th Amendment
           EXHIBIT E: PC Report
           EXHIBIT C: PC Communications

           Violation of 14th Amendment Due Process
           EXHIBIT E: PC report
           EXHIBIT A: Consumer Complaint Reply

IV.        Relief

          State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
          arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
          the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
          punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
          punitive money damages.

          Plaintiff requests her children are immediately returned to her care. There were no legal grounds to remove
          children from Plaintiffs care and therefore immediate relief is requested.
          Plaintiff also requests that April Harris-Britt is relieved of her professional license and is not allowed to work
          with families again.
          Actual damages include approximately $1,121,600. The basis for this amount is:
          $450,000 for loss of home investment; $75,000 for unnecessary court fees in Chatham County frivolous case;
          $300,000 for loss of successful career (4 years at $75,000); $138,600 for lost child support; $50,000 for lost
          belongings; $108,000 for lost college savings.

           Punitive damages: $1 million.
           Reasons claimed: Destruction of previously happy, very tight family. Exponential psychological harm to
           children by a woman whose oath to her profession demands responsible care.
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V.        Certification and Closing

          Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best ofmy knowledge, information,
          and belief that this complaint: ( 1) is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost oflitigation; (2) is supported by existing law or by a
          nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the.
          requirements of Rule 11.

          A.         For Parties Without an Attorney

                     I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                     in the dismissal ofmy case.

                     Date of signing:              01/18/2019


                     Signature of Plaintiff
                     Printed Name of Plaintiff

          B.         For Attorneys

                     Date of signing:


                     Signature of Attorney
                     Printed Name of Attorney
                     Bar Number
                     Name of Law Firm
                     Street Address
                     State and Zip Code
                     Telephone Number
                     E-mail Address
